     Case 3:24-cv-00259-SLH-PLD      Document 2-13   Filed 09/11/24   Page 1 of 4




                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

JOSEFINA DOE; ISABELA DOE;
COMMOR JEROME WELCH;
FELIPE NIOMAR MARTINEZ
ORTIZ; and JOSE DOE;                      Civil Action No. 2:24-cv-9105
on behalf of themselves and all others
similarly situated, and
THE AMERICAN FRIENDS                      ORDER GRANTING THE
SERVICE COMMITTEE,                        INDIVIDUAL PLAINTIFFS’
IMMIGRANT RIGHTS PROGRAM,                 MOTION FOR CLASS
                                          CERTIFICATION AND
                Plaintiffs,               APPOINTMENT OF CLASS
                                          COUNSEL
v.

U.S. DEPARTMENT OF
HOMELAND SECURITY;
U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT;

ALEJANDRO MAYORKAS,
Secretary of the Department of
Homeland Security, in his official
capacity;

PATRICK J. LECHLEITNER,
Acting Director of Immigration and
Customs Enforcement (“ICE”), in his
official capacity;

DANIEL A. BIBLE,
Executive Associate Director of ICE’s
Enforcement and Removal Operations,
in his official capacity;

CAMMILLA WAMSLEY,
Field Office Director for the ICE
   Case 3:24-cv-00259-SLH-PLD       Document 2-13     Filed 09/11/24   Page 2 of 4




Philadelphia Field Office, in her
official capacity;

FRANCIS KEMP,
Assistant Field Office Director for the
ICE Philadelphia Field Office, in his
official capacity,

                Defendants.


Gavin J. Rooney, Esq.
Alexander Shalom, Esq.
Natalie J. Kraner, Esq.
Naomi D. Barrowclough, Esq.
Anish Patel, Esq. (pro hac vice motion forthcoming)
Ruth Zimmerman, Esq.
LOWENSTEIN SANDLER LLP
One Lowenstein Drive
Roseland, New Jersey 07068
973-597-2500

Shira Wisotsky, Esq.
Raquiba Huq, Esq.
Zoe Burke, Esq.
Emily Thorton, Esq. (pro hac vice motion forthcoming)
LEGAL SERVICES OF NEW JERSEY
P.O. Box 1357
Edison, New Jersey 08818
908-882-2665

Tiffany Lieu, Esq. (pro hac vice motion forthcoming)
Philip L. Torrey, Esq. (pro hac vice motion forthcoming)
CRIMMIGRATION CLINIC
HARVARD LAW SCHOOL IMMIGRATION &
REFUGEE CLINICAL PROGRAM
6 Everett Street, Suite 3106
Cambridge, Massachusetts 02138
617-496-5497
Pro Bono Counsel for Plaintiffs

                                          -ii-
    Case 3:24-cv-00259-SLH-PLD        Document 2-13    Filed 09/11/24   Page 3 of 4




         This matter having come before the Court on the Motion of Plaintiffs

Josefina Doe, Isabela Doe, Commor Jerome Welch, Felipe Niomar Martinez Ortiz,

and Jose Doe, individually and on behalf of all others similarly situated

(collectively, the “Individual Plaintiffs”), for class certification and appointment of

class counsel pursuant to Rules 23(a), (b)(2), and (g) of the Federal Rules of Civil

Procedure, and the Court having considered the filings and arguments in support

thereof, and the opposition thereto, and for good cause shown,

         IT IS on this _________ day of _______________ 2024,

         ORDERED that the Individual Plaintiffs’ Motion for Class Certification and

Appointment of Class Counsel pursuant to Rules 23(a), (b)(2), and (g) of the

Federal Rules of Civil Procedure is GRANTED; and it is further

         ORDERED that the following class is certified pursuant to Federal Rule of

Civil Procedure 23(a) and (b)(2):

         All noncitizens detained by Defendants at the Moshannon Valley Processing

         Center who have unresolved criminal matters (inclusive of petty disorderly

         persons, disorderly persons, and indictable offenses) to be charged or

         charged in a superior or municipal court in New Jersey;

         and it is further

         ORDERED that the Individual Plaintiffs are appointed to serve as

representatives of the class; and it is further



217150843.3
   Case 3:24-cv-00259-SLH-PLD    Document 2-13    Filed 09/11/24   Page 4 of 4




      ORDERED that Lowenstein Sandler LLP, the Legal Services of New

Jersey, and the Harvard Immigration & Refugee Clinical Program are appointed as

Co-Class Counsel.



                                    United States District Judge




                                      -2-
